                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                  3:14-cv-00700-RJC
JASON VICKS
MEKEISHA VICKS

               Plaintiffs,
       vs.                                             MEMORANDUM IN SUPPORT OF
                                                      MOTION TO DISMISS COMPLAINT
CFAM FINANCIAL SERVICES, LLC.

               Defendant.


       COME NOW Defendant, CFAM Financial Services, LLC (“Defendant” or “CFAM”), by

and through its undersigned counsel of record, and submits this Memorandum of Law in Support

of its Motion to Dismiss Plaintiffs, Jason Vicks and Mekeisha Vicks (“Plaintiffs”), Complaint

(the “Complaint”) for failure to state a claim upon which relief may be granted pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure.

                              INTRODUCTORY STATEMENT

       Plaintiffs’ Complaint in this matter is reminiscent of the old political saying“[e]veryone is

entitled to [their] own opinion, but not [their] own facts.” While it is to be expected that

Plaintiffs would draft a Complaint in which objective facts would be asserted in favor of their

own claims, this particular Complaint blatantly ignores undisputed facts that occurred, does not

cite facts from the public record which this Court should take judicial notice, and relies on

conclusory statements that are unsupported by averments of facts to make a claim against

Defendant CFAM. Although Plaintiffs do attach documents to the Complaint, they conveniently

leaves out other documents that would defeat their claim.

       Plaintiffs seek damages for violations of the Fair Debt Collection Practices Act

(FDCPA), the North Carolina Debt Collection Act (NCDCA), the North Carolina Unfair and




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Deceptive Trade Practices Act (“NCUDTPA”) and “Noncompliance with Repossession of

Vehicle Without A Security Interest.”                In 2007, Plaintiffs obtained a loan from Parks

Automotive, Inc. to purchase a Hummer H2. Yet more than seven years later, Plaintiffs still had

not paid off the loan and were in default. Yet, in an almost dissociative manner, Plaintiffs deny

that they have any knowledge of a debt owed to Defendant. They do this despite orders that are

in the public record that hold, as a matter of law, there is a valid debt in the form of a promissory

note, they are the Debtors under that promissory note, and the Defendant is the holder of the

promissory note.

        The Vicks, pro se Plaintiffs, are entitled to some leeway in their pleadings. However,

their conclusory statements in the Complaint and the public record make this lawsuit

nonsensical. This lawsuit must be dismissed as a matter of law.

                                      STATEMENT OF THE CASE

        This action was instituted by Plaintiffs on December 17, 2014, seeking damages arising

out of the eventual repossession and sale of a 2003 Hummer H2.                          Plaintiffs defaulted on

payments made under a loan made by Parks Automotive, Inc. in 2007 to purchase the Hummer.

Complaint (Compl.) Ex. A. The promissory note was transferred to Wells Fargo shortly after the

origination of the loan. Compl. pp. 3-4, Ex. A.1 In 2012, Wells Fargo, transferred the Note to

Defendant CFAM. Eventually, the Hummer H2 was repossessed and sold. Compl. p. 7. In

2012, Plaintiff, Jason Vicks filed for Bankruptcy Protection. In that Bankruptcy, CFAM made a

Notice of Claim regarding the Hummer. Plaintiff, Jason Vicks, who was represented by counsel




1
 There are several numbering issues in the Plaintiffs’ Complaint such that citations to the Complaint by paragraph
number cannot be done without confusion. Thus, citations to the Complaint will be done by page number.

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did not dispute CFAM’s claim in the Bankruptcy.2 In fact, a CFAM obtained a distribution of

proceeds from the 2012 bankruptcy. In 2014, Plaintiff, Jason Vicks filed for bankruptcy again.

This time, Plaintiff, Jason Vicks attempted to assert that CFAM did not have a lien on the

Hummer. The Court dismissed Jason Vicks attempt to avoid CFAM’s lien.

        The premise of all of Plaintiffs’ claims is that CFAM repossessed their car when it did

not have the right to do so. However, as Defendant amply demonstrates, Plaintiffs have not

alleged that CFAM is liable to them under any of their claims.

                                      STATEMENT OF FACTS

A.      Request For Court To Take Judicial Notice

        In order to incorporate other essential facts in this matter not contained in the Complaint,

CFAM requests the Court take judicial notice of matters of public record. CFAM requests this

Court take judicial notice of two bankruptcy proceedings that were before the Western District of

North Carolina. The first proceeding is Bankruptcy Case No. 3:12-bk-32648 and the second

Bankruptcy Case No. 3:14-bk-30679. In both cases, the Debtor in the bankruptcy proceeding

was only, Plaintiff, Jason Vicks and both were Chapter 13 actions. Pursuant to Fed. R. Evid.

201(c), the Court “must take judicial notice if a party requests it” or “if the court is supplied with

necessary information.” Philips v. Pitt Cnty. Mem’l Hosp., 572 F.3d 176, 180 (4th Cir. 2009)

(“In reviewing a Rule 12(b)(6) dismissal, [the Court] may properly take judicial notice of matters

of public record.”); Johnson v. BAC Home Loans Servicing, LP, 867 F. Supp. 2d 766, 778

(E.D.N.C. 2011) (court taking judicial notice of the special proceedings filings by Defendants in

a non-judicial foreclosure in considering a motion to dismiss under Rule 12(b)(6).



2
 Jason Vicks was represented in his Bankruptcy by David Hands, husband of Mecklenburg County District Judge
Ty Hands.

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B.       Execution of Note

         Plaintiffs executed a promissory note (“Note”) in favor of Parks Automotive, Inc. dba

Parks Suzuki evidencing a loan used to purchase a 2003 Hummer H2 on April 23, 2007. The

principal amount of the Note was $36,943.00 in favor of Parks Automotive, Inc. dba Parks

Suzuki. Note attached as Exhibit A.3 The Note called for 66 monthly payments of $812.17

beginning on May 23, 2007. Id. In paragraph 2(c) of page 2 of the Note, the Plaintiffs gave the

Hummer H2 itself as collateral for the loan. Id. In paragraph 3(d) of page 2 of the Note, Parks

Automotive, Inc. dba Parks Suzuki gave the Plaintiffs notice that if they defaulted on the loan,

the Hummer H2 may be repossessed. Id.

C.       Plaintiffs Default On Their Car Payments

         Parks Automotive, Inc. dba Parks Suzuki assigned the Note to Wells Fargo. Compl. p.

3.4   On or about May 21, 2007, Wells Fargo recorded its lien with the North Carolina

Department of Motor Vehicles. Compl. Ex. A. Plaintiffs admit that they later defaulted on the

Note. Compl. ¶16. Plaintiffs further admit that Wells Fargo transferred the Note to Defendant

CFAM on June 12, 2012. Compl. p. 4. Finally, Plaintiffs admit that from 2012 to 2014, they

made payments to CFAM on the Note. Compl. p. 4.

D.       Jason Vicks First Bankruptcy

         What Plaintiffs do not admit, but what is part of the public record, was that on June 26,

2012 Jason Vicks filed a Chapter 13 Bankruptcy with the Western District of North Carolina.

See In re Vicks, Bankruptcy Case No. 3:12-bk-32648 (2012) (“First Bankruptcy”). On January 4



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  Plaintiffs attach only the first page of the Note in his Complaint. Exhibit A to this Motion attaches the entirety of
the Note. In addition to the allegations in the Complaint, “a court may consider ‘documents incorporated into the
complaint by reference, and matters of which a court may take judicial notice.’” E.I. du Pont de Nemours & Co. v.
Kolon Indus., Inc., 637 F.3d 435, 448 (4th Cir. 2011).


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2013, CFAM made an appearance and request for notice in the proceeding.                  See First

Bankruptcy, Dkt. Entry 15. On February 22, 2013, CFAM filed a notice of claim with the

bankruptcy Court. On March 19, 2013 the notice of claim was amended to correct the creditor

address. Notice of Claim attached as Exhibit B. The Notice of Claim included, a copy of the

Note, the Certificate of Title, a Payment History, a Limited Power of Attorney, and a Bill of

Sale. Id. Jason Vicks counsel made no objection to CFAM claiming an interest in the Hummer

H2. On February 15, 2013, the Court confirmed a Chapter 13 Plan in which Jason Vicks would

pay $3,250/month to pay off his creditors. First Bankruptcy, Dkt. 26. On April 12, 2013, the

Bankruptcy Court dismissed the petition. Id., Dkt. Entry 30. The reason for the dismissal was due

to the Trustee’s objection to the Chapter 13 Plan based on Jason Vicks’ failure to file is 2010 and

2011 income taxes. Id., Dkt. Entry 29. Before the First Bankruptcy was dismissed, Jason Vicks

paid $3,350 to the Trustee of the bankruptcy estate. Id., Dkt. Entry 32. Of that amount,

$2,471.10 was paid to CFAM. Id.

E.     Jason Vicks Second Bankruptcy

       On April 23, 2014, Jason Vicks filed another Chapter 13 bankruptcy in the Western

District of North Carolina.    See In re Vicks, Bankruptcy Case No. 3:14-bk-30679 (2014)

(“Second Bankruptcy”). In this bankruptcy, Jason Vicks proceeded pro-se. On July 8, 2014,

CFAM made an appearance and request for notice in the proceeding. See Second Bankruptcy,

Dkt. Entry 23. On that same date, CFAM made an objection to Jason Vicks bankruptcy plan

because “[his Chapter 13] plan proposes to avoid CFAM’s lien, without giving any explanation

as to why the lien is voidable.” Id., Dkt. Entry 24. Jason Vicks responded to this objection by

alleging that Wells Fargo had charged off his loan on his credit reports and CFAM was not

registered as a debt collector under North Carolina law. Id., Dkt. Entry 26 attached as Exhibit


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C. On August 18, 2014, the Bankruptcy Court sustained CFAM’s objection to the Chapter 13

plan. Id., Dkt. Entry 33 attached as Exhibit D. On November 11, 2014, Jason Vicks second

bankruptcy was dismissed.

F.     The Hummer H2 Is Repossessed

       On November 5, 2014, CFAM obtained a license from the North Carolina Department of

Insurance to become a debt collector in the state. Compl. p. 4. On November 7, CFAM

repossessed the Hummer H2 after an unsuccessful attempt on November 6. Compl. p. 4-5. On

November 10, 2014, CFAM sent Jason Vicks a letter providing him 30 days to dispute the debt.

Compl. p. 5-6. On November 11, 2014, CFAM sent him another letter informing him of

CFAM’s intent to sell the Hummer H2. Compl. p. 7. On November 12, 2014, Jason Vicks

received another letter from CFAM informing of his right to redeem the Hummer H2. Id. On

November 15, 2014, Plaintiffs allege that he sent a verification request into CFAM. Id. On

November 25, 2014, Plaintiffs allege that he received confirmation from the North Carolina

Department of Insurance that CFAM has retained a debt collector’s license. Compl. Id.

                                   STANDARD OF REVIEW

       The Complaint should be dismissed for failure to state a claim upon which relief can be

granted.   Fed. R. Civ. P. 12(b)(6). A motion to dismiss pursuant to Rule 12(b)(6) should be

granted if it appears that the plaintiff cannot prove any set of facts in support of his claim

entitling him to relief.   Edwards v. City of Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999).

Ordinarily, the complaint need contain simply “a short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). However, a complaint is insufficient

if it offers merely “labels and conclusions,” “a formulaic recitation of the elements of a cause of

action,” or “naked assertion[s]” devoid of “further factual enhancement.” Ashcroft v. Iqbal, 556


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U.S. 662, 696 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007)

(internal quotation marks omitted)). “To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Id. (quoting Twombly, 550 U.S. at 570). A claim is facially plausible if the plaintiff alleges

factual content “that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged” and shows more than “a sheer possibility that a defendant has acted

unlawfully.” Id.

                                            ARGUMENT

A.      Plaintiffs Fail To Allege CFAM Violated the FDCPA

        Plaintiffs’ first cause of action is for a violation of the FDCPA in paragraph 23 and 24 of

their Complaint. Compl. p. 8. In paragraph 23, Plaintiffs allege, in conclusory fashion, that

CFAM violated the FDCPA. Id.             In paragraph 24, Plaintiffs simply ask for damages for

unspecified FDCPA violations. Id.        See attached Exhibit B. Thus, it appears that the factual

allegations supporting Plaintiffs’ FDCPA must come from the paragraphs alleged before

paragraphs 23-24.

        1.      Plaintiffs’ FDCPA claims have no merit

        To prevail on a FDCPA claim, a plaintiff must sufficiently allege that (1) he was the

object of collection activity arising from a consumer debt as defined by the FDCPA, (2) the

defendant is a debt collector as defined by the FDCPA, and (3) the defendant engaged in an act

or omission prohibited by the FDCPA.           Johnson v. BAC Home Loans Servicing, LP, 867

F.Supp.2d 766, 776 (E.D.N.C. 2011); Dikun v. Streich, 369 F.Supp.2d 781, 784–85 (E.D.Va.

2005) (citing Fuller v. Becker & Poliakoff, 192 F.Supp.2d 1361 (M.D.Fla.2002)). Plaintiffs have

not properly alleged facts supporting the third element of this claim.


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               a.      Plaintiffs have not properly alleged that Defendant violated §1692e of the
                       FDCPA.

       Plaintiffs allege the CFAM violated §1692e of the FDCPA. Compl.              pp. 4-5, ¶16.

Section 1692e of the FDCPA prohibits “false, deceptive, or misleading representation or means

in connection with the collection of any debt.” 15 U.S.C. §1692(e). The Fourth Circuit has

adopted the “least sophisticated consumer” standard to determine if a Section 1692e violation

has occurred. Chaudhry v. Gallerizzo, 174 F.3d 394 (4th Cir.1999); Stewart v. Bierman, 859 F.

Supp. 2d 754, 761 (D. Md. 2012) aff'd sub nom. Lembach v. Bierman, 528 F. App'x 297 (4th Cir.

2013). “[A]lthough Congress did not expressly require that any violation of § 1692e be material,

courts have generally held that violations grounded in false representations must rest on material

representations.” Stewart, 859 F. Supp. at 761 citing Warren v. Sessoms & Rogers, 676 F.3d 365,

373–75 (4th Cir.2012).

       Plaintiffs allege that Defendant violated §1692e(2)A and e(10) when the agency was sent

to repossess their car informed them that it was being taken for their default on the auto loan

(Compl.    pp. 4-5), and violated §1692e(2)A, e(5) and e(10) by sending them a letter on

November 10, 2014 concerning the debt on the car. (Compl. pp. 5-6).

       Section 1692e(2)A of the FDCPA prohibits a “false representation of the character,

amount, or legal status of any debt” Warren v. Sessoms & Rogers, P.A., 676 F.3d 365, 374 (4th

Cir. 2012), as amended (Feb. 1, 2012); however, “[a] statement cannot mislead unless it is

material, ... a false but non-material statement is not actionable.” Id.

       There was nothing false in the communication between Plaintiffs and the repossession

agent as a matter of law. Plaintiffs allege that they were told that they “owed an auto debt to the

Defendant” and that “repossession was warranted” during this communication. Compl. pp. 4-5.

Plaintiffs admit in their Complaint that they signed the Note. They also admits that the Note was

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in default. A material term of the Note was that if they were in default the Hummer H2 could be

repossessed. Plaintiffs claim that only Wells Fargo was entitled to repossession; however,

during Plaintiff, Jason Vicks, First Bankruptcy when CFAM filed a Notice of Claim, his counsel

did not object to the claim before the Chapter 13 Plan was confirmed. Furthermore, during the

Second Bankruptcy, Plaintiff attempted to avoid the CFAM’s Notice of Claim by asserting that

Wells Fargo was the lien holder; yet the Court summarily denied his attempt at avoidance. His

claim after these two Bankruptcies that CFAM could not enforce the terms of the Note strain

credibility.

        Section 1692e(5) proscribes a debt collector from threatening “to take any action that

cannot legally be taken or that is not intended to be taken.” Fontell v. Hassett, 870 F. Supp. 2d

395, 410 (D. Md. 2012).

        As stated above, CFAM provided the Bankruptcy Court in its Proof of Claim that it was

the holder of the Note given by Jason Vicks and MeKeisha Myles Vicks to Parks Automotive

Inc. dba Parks Suzuki, that the Note was in default, and that repossession of the secured

collateral (the Hummer H2) was a remedy for default.        Furthermore, Plaintiffs admit to the

default. As a matter of law, CFAM could repossess the Hummer H2; thus Plaintiffs’ claim under

1692e(5) must also be dismissed as a matter of law.

        Section 1692e(10) prohibits debt collectors from using “any false representation or

deceptive means to collect or attempt to collect any debt.” 15 U.S.C. § 1692e(10). Plaintiffs

have not alleged how the attempt to repossess the Hummer H2 or the November 10 letter was

false or deceptive other than their contention that CFAM could not collect on the note. However,

as stated above Plaintiff, Jason Vicks had two opportunities in Bankruptcy Court to contest the




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validity of CFAM lien on the Hummer H2 and either chose not to challenge CFAM’s claim or

challenged it and lost the argument to avoid CFAM’s lien.

                 b.      Plaintiffs have not properly alleged that Defendant violated §1692g of the
                         FDCPA.

          Plaintiffs also allege the CFAM violated §1692g of the FDCPA. Compl. pp. 5-6.

Section 1692g of the FDCPA concerns the validation of debts covered by the act. 15 U.S.C.

§1692(g). In this case, Plaintiffs have no claim against CFAM for a violation of § 1692g

because his claim is barred by the statute of limitations.

          Section 1692g(a) states in part that within five days “after the initial communication with

a consumer in connection with the collection of any debt, a debt collector shall send the

consumer a written notice containing a statement that . . . if the consumer notifies the debt

collector in writing within the thirty-day period that the debt, or any portion thereof, is disputed,

the debt collector will obtain verification of the debt . . .. “ 15 U.S.C. § 1692g(a) (emphasis

added).

          Claims under the FDCPA must be brought “within one year from the date on which the

violation occurred.” 15 U.S.C. § 1692k(d). “[T]he limitations period for FDCPA claims begins

from the date of the first violation, and subsequent violations of the same type do not restart the

limitations period.” Fontell, 870 F. Supp. 2d 395, 404. “Furthermore, ‘new communications

concerning an old claim do not start a new period of limitations.’” Bey v. Shapiro Brown & Alt,

LLP, 997 F. Supp. 2d 310, 316 (D. Md. 2014) aff'd, 584 F. App'x 135 (4th Cir. 2014). On Page 4

of their Complaint, Plaintiffs admit that they paid CFAM on the putative debt from 2012 through

2014. Despite this admission, Plaintiffs would have this Court believe that during that two year

period, he had no communication with CFAM, written or oral that would initiate the written

notice requirement of § 1692g.

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       In conclusion, Plaintiffs have failed to allege a claim against CFAM under the FDCPA;

thus, the claim should be dismissed as a matter of law.

B.     Plaintiffs have no claim under the North Carolina Debt Collections Practices Act.

       Plaintiffs’ second cause of action is a violation of Article 2 of the North Carolina Unfair

Trade Practices Act, also known as the North Carolina Debt Collectors Act (“NCDCA”),

N.C.Gen.Stat. §§ 75–50 et seq. The elements of a NCDCA claim are (1) an unfair act, (2) in or

affecting commerce and (3) that has proximately caused plaintiff injury. Ross v. Washington

Mut. Bank, 566 F. Supp. 2d 468 (E.D.N.C. 2008) aff'd sub nom. Ross v. F.D.I.C., 625 F.3d 808

(4th Cir. 2010). In the context of the NCDCA, an unfair act includes the use of threats, coercion,

harassment, unreasonable publication of the consumer's debt, deceptive representations, and

unconscionable means. N.C.Gen.Stat. §§75-51 to 56. Davis Lake Cmty. Ass'n, Inc. v. Feldmann,

138 N.C. App. 292, 296, 530 S.E.2d 865, 868 (2000).

       In this case, Plaintiffs have not properly alleged that CFAM committed an unfair act.

The Plaintiffs allege that CFAM violated the NCDCA in seven ways. Compl. pp. 9-10. None of

these alleged transgressions were sufficiently pled by Plaintiffs to survive a motion to dismiss.

               a.      Plaintiffs have not properly alleged that Defendant “us[ed] or threaten[ed]
                       violence or any illegal means to cause harm to the person reputation or
                       property of any person.”

       There are no allegations in the Complaint concerning violence towards the Plaintiffs.

Plaintiffs have not alleged how the repossession of his Hummer H2 caused harm to his physical

person or reputation. Plaintiffs’ allegations for this violation can only be for the repossession

itself. As stated above, CFAM is the holder of the Note, the Note was secured by the Hummer

H2, Plaintiffs defaulted on the debt, and repossession was a remedy in the Note for such a

default. Plaintiffs have failed to allege how the repossession was illegal.


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               b.     Plaintiffs have not properly alleged that Defendant “falsely accus[ed] or
                      threaten[ed] to accuse any person of fraud or any crime, or of any conduct
                      that would tend to cause disgrace contempt or ridicule.”

       Plaintiffs have not alleged that CFAM accused them of a crime or fraud at any time.

Furthermore, they have made no specific or general allegations concerning any “disgrace,

attempt, or ridicule” they suffered due to CFAM.

               c.     Plaintiffs have not properly alleged that Defendant “[made] or threatened
                      to make false accusation to another person . . . that a consumer has not
                      paid, or has wilfully refused to pay just debt”

       As stated above, Plaintiffs admit to their default on the Note. CFAM has demonstrated

it’s the holder of that Note in Jason Vicks’ bankruptcies. Any communication of that fact, even

to the agent that repossessed the Hummer H2 is not a violation of the NCDCA.

               d.     Plaintiffs have not properly alleged that Defendant “comminicat[ed] with
                      the consumer other than in the name of the person making the
                      communication, the collection agency and the person or business on
                      whose behalf the collection agency is acting or to whom the debt is owed.”

       In this allegation of a violation of the NCDCA, Plaintiffs cite from N.C.Gen.Stat. § 58-

70-110(2) which is part of the North Carolina Collection Agency Act (“NCCAA”). However,

N.C.Gen.Stat. § 75-54(1) of the NCDCA is similar to this provision in that it prohibits

“[c]ommunicating with the consumer other than in the name (or unique pseudonym) of the debt

collector and the person or business on whose behalf the debt collector is acting or to whom the

debt is owed.” For purposes of this 12(b)(6) motion, it is assumed that Plaintiffs are referring to

N.C.Gen.Stat.75-54(1). “To prevail on a claim for [a] violation [of 75-54], one need not show

deliberate acts of deceit or bad faith, but must nevertheless demonstrate that the act complained

of ‘possessed the tendency or capacity to mislead, or created the likelihood of deception.’ ”

Wilkes Nat. Bank v. Halvorsen, 126 N.C. App. 179, 183, 484 S.E.2d 582, 585 (1997). Plaintiffs

cannot plausibly allege in this action, that simply because a company by the name of “Associate

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Asset Recovery” repossessed their vehicle that they were deceived as to who actually was the

party taking the vehicle.


       This is another exercise in artful pleading by the Plaintiffs. Plaintiffs allege at 11:30 p.m.

on November 6, 2014, an agent/employee off CFAM “communicated” with them. Compl. pp.

4-5. There is no allegation of whether this “communication” was written and oral. However,

Plaintiffs attempt at bootstrapping this allegation into a violation of the NCDCA must fail

because they admit that “Associate Asset Recovery” communicated that it was Defendant CFAM

that was having their vehicle repossessed.      Plaintiffs have not alleged at all that CFAM was

trying to deceive them by send “Associate Asset Recovery” to repossess the vehicle.

               e.      The NCDCA has no requirements concerning the initial and subsequent
                       communications with a consumer.

       Plaintiffs allege that Defendants violated the NCDCA by failing to properly disclose

information in its initial communications with the Plaintiffs. Compl. pp. 9-10. There is no

requirement in the NCDCA concerning the nature of the initial or subsequent communication

between a debt collector and the debtor. This claim must be dismissed.

               f.      Defendant did not falsely represent the “character, extent, or amount of
                       [the] debt” in this case.

       In this allegation of a violation of the NCDCA, Plaintiffs cite from N.C.Gen.Stat. § 58-

70-110(4) which is part of the NCCAA. However, N.C.Gen.Stat.75-54(4) of the NCDCA is

similar to this provision in that it prohibits “falsely representing the character, extent, or amount

of a debt against a consumer or of its status in any legal proceeding; falsely representing that the

collector is in any way connected with any agency of the Federal, State or Local Government; or

falsely representing the creditor's rights or intentions. N.C.Gen.Stat. § 75-54. As stated above,

the public record in this case demonstrates that CFAM has demonstrated that it was assigned the

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Note from Wells Fargo, Plaintiffs admit that they are in default on the Note, and the Note allows

for repossession if they are in default. Plaintiffs had an opportunity in the First Bankruptcy to

challenge the validity and amount of the debt and did not do so.

       g.      Defendant did not falsely represent the “status and true nature of its services to
               Plaintiffs

       In this allegation of a violation of the NCDCA, Plaintiffs cite from N.C.Gen. Stat. 58-70-

110(4) which is part of the NCCAA. However, N.C.Gen.Stat. § 75-54(7) of the NCDCA is

similar to this provision in that it prohibits “[f]alsely representing the status or true nature of the

services rendered by the debt collector or his business. N.C.Gen.Stat. § 75-54(7). There is no

basis for this claim in the Complaint.        Plaintiffs have alleged no facts in which CFAM

represented itself anything other than as the holder of the Note secured by Plaintiffs Hummer H2.

This claim must be dismissed as a matter of law.

C.     Plaintiffs Have No Claim Under the North Carolina Unfair Trade Practices Act.

       Plaintiffs’ third cause of action is for a violation of the North Carolina Unfair Trade

Practices Act (“NCUTPA”). Compl. pp. 11-12. Plaintiffs’ claim under the NCUTPA is entirely

based upon a violation of the NCDCA. Compl. pp. 11. As argued above, Plaintiffs have no

claim under the NCDCA; thus this claim must fail also.

D.     Plaintiffs Have No Claim Under N.C. Gen. Stat. 25-9-601

       The Fourth Cause of Action in the Complaint asserts a claim for “noncompliance with

repossession of vehicle without a security interest.” Compl. pp. 12. In support of this claim,

Plaintiffs allege that Defendant violated N.C.Gen.Stat. § 25-9-601. Id. However, this part of the

Uniform Commercial Code (“UCC”) includes 28 separate sections, each with numerous

subparts. See N.C.Gen.Stat. §§ 25–9–601 to 628. Plaintiffs’ complaint fails to state which

provision or provisions of those 28 sections Defendant allegedly violated. Further, the remedy

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provision cited by Plaintiffs create liability only for “any loss caused by a failure to comply with

this Article.” See N.C. Gen. Stat. § 25–9–625.

          Additionally, Plaintiffs’ claim that defendant violated UCC Article 9 is based on a faulty

premise. In support of this claim Plaintiffs allege that CFAM was not the secured creditor at the

time of the repossession. Id. As a matter of public record, CFAM established itself as the holder

of the Note in Jason Vicks’ bankruptcies. The facts in the complaint reveal that the Plaintiffs

admit that they were in default on the Note at issue. Compl. pp. 4. UCC Article 9 leaves it to the

parties to define default and provides that once default occurs, the secured party has the right to

take possession of the collateral. See N.C. Gen. Stat. § 25–9–609(a)(1). Accordingly, the

Plaintiffs were in default at the time of repossession and CFAM could not have violated Section

9 of North Carolina's UCC. Therefore Plaintiffs’ claim must be dismissed.

                                          CONCLUSION

          Based on the foregoing, CFAM, Inc., by counsel, requests the Court to enter an order

granting its motion to dismiss, dismissing Plaintiffs’ Complaint with prejudice, awarding CFAM

the costs incurred in this action, and granting such other relief as the Court deems just and

proper.

          Respectfully submitted this 2 of February, 2015.

                                               BROCK & SCOTT, PLLC

                                               /s/Franklin L. Greene
                                               Franklin Greene, NC Bar #37896
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                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                 3:14-cv-00700-RJC
JASON VICKS
MEKEISHA VICKS

              Plaintiffs,
       vs.                                               CERTIFICATE OF SERVICE

CFAM FINANCIAL SERVICES, LLC.

              Defendant.




       I hereby certify that on February 2, 2015 a copy of the foregoing pleading, with any and

all attachments, was filed electronically with the clerk of court via ECF and served via First-

Class Mail, postage prepaid, addressed to:

                                          Jason Vicks
                                        Makeisha Vicks
                                   2002 Master Gunner Road
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